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Lega|ities at Demonstrations

|nstructor Guide

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MODULE #
SYNOPS|S

Date Preparecl: 03!14}00 Date Reviewed f Revised: 06}05! 14
Prepared By: Lt. Robert Schwach
Reviewed!Approved By: Lt. Frank Gesualdi

This module will provide the participant with introduction into the basic principles of the
United States Constitution with regard to protests, including the right to free speech and
public assemb|y. Participants will be briefed on some of the pertinent Supreme Court
cases affecting these rig hts.

Method of |nstruction: Lecture f discussion )‘ question and answer
Time Allocated: 45 lVlinutes
Training Need: Not applicable

Terminal Learning Objective: At the completion of this module, participants will
understand ......

Learning Outcomes:

1 How the First Amendment to the Constitution affects their job performance at a
protest or demonstration

2. The rights of free speech and assembly as they pertain to current NYPD policies.

Required Reading: None

lnstructiona| Resources Required:
- PowerPoint projector

- Computer with monitor

- Classroom seating

Evaluation Strategies:
- Observation of the level and quality of classroom participation
- Observation and evaluation of module learning outcomes as applied to

References:

US Constitution

The Constitution that delicate balance

The Oxford Companion to the Su preme Court Demonstrator Guide
Right to Protest a basic ACLU guide to free Expression

Rioting in America

 

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Legalities at Protestleemonstrations

Learning Outcomes :

1. Explain how the First Amendment to
the Constitution affects a Po|ice
officer's responsibilities at protests
or demonstrations

2. Exp|ain the rights of free speech and
assembly as they pertain to current
N¥PD policies.

 

 

Learning Outcomes

1. Expiain how the l'-`irst Amendment to the Constitution affects a Police officer’s
responsibilities at protests or demonstrationsl

2. Exptain the rights of free speech and assembly as they pertain to current
NYPD policies.

 

 

 

 

instructor Notes:

 

 

 

 

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NYPD Disorder Control Unit Legalities at Protests!Demonstrations 4

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Legalities at Protestleemonstrations

+ "Congress shall make no law respecting

an establishment

of reiigian, ar prohibiting the free
exercise thereof; or

abridging the freedom of speech, or of
the press; or the right

of the peopie peaceany to assemble
and to petition the

60 remment for a redress of
grie vances. "

 

 

lNTRODUCT|ON

Of all the things that Americans are proud of, they are probably the most proud of
their Constitution. Written in 1887 and amended twenty-six times since, the United
States Constitution is known throughout the world as one of the most important
documents ever written with regard to peop|e's rights. Unlike many other Government
charters, which only list things the Government can do, the United States Constitution
goes to great length to limit the powers of various Government entities Although the
document is more than two hundred years old, you are guided by it today, both at
home and at work. More specifically, as an agent of the Government, you must abide
by it in performance of your duties. ln fact, within the oath of office you took to become
a police officer in the city of New York, you promised to uphold the provisions of the
Constitution.

What is the Constitution? lt is the basic document that outlines the powers of the
federal government But taken with the Bill of Rights, which are the first ten
amendments to the Constitution, the document also lists restrictions on the powers of
the federal governmentl

Today's lesson will review the parts of the Constitution, and the Bill of Rights, and
Supreme Court decisions regarding these documents that affect how you police a
protest or demonstration.

 

 

 

 

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Legalities at Protestleemonstrations

 

United States Constitution United States Constitution

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times since ¢ US Cor'-st. is more than two hundred years
¢ known throughout the world as one of the O|d
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- ever written with regard to peop|e's rights and ar v\-'Ol'k

- Unlike many other Govemment charters a It is the basic document that outlines the
which only list things d*ie Govei~nrnent can powers CFHWE FEdCr‘a| Govcrnn*icnt
do

¢ limits the powers oF vanous Governn'£nt
entities

 

 

 

Learning

Outcome #1
Explain how the
First Amendment to
the Constitution
affects a Po|ice

officer

responsibilities at

protests OF

demonstrations

 

 

Written in 1887 and amended twenty-six times since
known throughout the world as one of the most important documents
ever written with regard to people's rights

can do

limits the powers of various Government entities

US Const. is more than two hundred years old

Still guides American society, both at horne and at work

 

Unlike many other Government charters which only list things the Government

lt is the basic document that outlines the powers of the Federal Government

 

 

 

 

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NYPD Disorder Control Unit Legalities at Protestsi'Demonstrations

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Bill of Rights N‘i'C Police Off"icers

|_ n You are an agent of the Governrnent

l The nisi ten amendments in the n you must abide by it in performance of
Constitution

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took to become a Police Officer in the
City of New Yoii\"

. First Amendment has a large
influence on police responses to
demonstrations & protests

your duties

  

 

Bill of Rights
l The first ten amendments to the Constitution
l Which lists restrictions on the powers of the Federal Government

NYC Police Officers
l You are an agent of the Government
l You must abide by it in performance of your duties

l in line with the oath of office you took to become a police officer in the city of
New York

l First Amendment has a large influence on police responses to demonstrations
& protests

 

 

 

 

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First Amend ment Court Decisions
‘ Rigl'it to:

-free speech
-peaceable assembly
Not Absolute:

There can be restrictions in the interests of
public safety

l
Courts have recognized certain
restrictions on the exercise of
-Speech

-Assern bly

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e’“ ""e[|'"g me m a crowded Placed certain restrictions on such
theater
-protesting in the r'riddle of
Time Square

 

 

Right to:
-free speech
-peaceable assembly

Not Absoiute:
There can be restrictions in the interests of public safety
e>c: -yelling fire in a crowded
theater

-protesting in the middle of
Time Square

Court Decisions

Courts have recognized certain restrictions on the exercise of
-Speech
-Assembly
&
P|aced certain restrictions on such

 

 

 

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_ Learning
Time, Place & Manner Rule outcome #2
. l Exp|ain the rights of
- Govt can restrict protests based on. free Speech and
-tin'ie of day assembly as they
_ pertain to current
type O‘c place NYPD policies

 

 

 

-manner of the protest

Requires protesters to apply for
permits, Govt can deny

*must be granted unless specific
objections are unrelated to the
speech of protest

 

 

Time, Place & Manner Rule
l Govt can restrict protests based on:
-time of day
-type of place
-manner of the protest
Requires protesters to apply for permits, Govt can deny
*rnust be granted unless specific objections are unrelated to the
speech of protest

 

 

 

 

instructor Notes:

 

 

 

 

NYPD Disorder Control Unit Legalities at Protestsi'Demonstrations 13

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Ciear & Present Danger Rule

-l~ l Govt may stop protest if:
-creates ciear & present danger
immediate violence will occur

-takes place in front such locations
as schools or hospitals and
causes undue hardship
*sound amplification devices(bullriorns)
require permits

 

 

Ciear & Present Danger Rule
l Govt may stop protest if:
-creates clear & present danger
immediate violence will occur
-takes place in front such locations as schools or hospitals and causes
undue hardship
*sound amplification devices (bullhorns)
require permits

 

 

 

 

instructor Notes:

 

 

 

 

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Legalities at Protestleemonstrations

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Summary

|' 1. First Amendment’s affect on a
Police officer’s responsibilities
at protests or demonstrations

2. Rights of free speech & assembly
regarding current N\’PD policies

 

 

Summary
1. First Amendment’s affect on a Police officer’s responsibilities

at protests or demonstrations
2. Rig hts of free speech 81 assembly regarding current NYPD policies

 

 

 

 

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Legalities at Protests/Demonstrations

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